                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WISCONSIN


WER1 WORLD NETWORK,
INGRID WANG,

                     Plaintiffs,

              v.                                      Case No. 11-C-0901

CYBERLYNK NETWORK, INC.,
SCOTT JEWSON,
JOHN DOES 1-10,
JANE DOES 1-10,
DOE PARTNERSHIPS 1-10,
DOE CORPORATIONS 1-10,
DOE ENTITIES 1-10,

                     Defendants.


      ORDER FOR DISMISSAL OF CLAIMS BETWEEN PLAINTIFF WER1
    WORLD NETWORK, INC. AND DEFENDANT CYBERLYNK NETWORK, INC.

       This matter is before the Court upon the Stipulation for Partial Dismissal of

Defendant CyberLynk Network, Inc. with prejudice filed by the parties.

       Based upon all the files, records and proceedings herein,

       IT IS ORDERED that this action is DISMISSED WITH PREJUDICE WITH

RESPECT TO ALL CLAIMS BETWEEN WER1 WORLD NETWORK, INC. AND

DEFENDANT CYBERLYNK NETWORK, INC., and without costs, disbursements, or

attorneys' fees to any party.

       Dated at Milwaukee, Wisconsin, this 23rd day of January, 2015.

                                                      BY THE COURT

                                                      /s/ C.N. Clevert, Jr.
                                                      C.N. CLEVERT, JR.
                                                      U.S. DISTRICT JUDGE



        Case 2:11-cv-00901-CNC Filed 01/23/15 Page 1 of 1 Document 130
